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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION



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UNITED STATES OF AMERICA                      *
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                                              *
VS.                                           *               NO: 4:03CR00153 SWW
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                                              *
GREGORY CALDWELL                              *
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                                            ORDER

       Before the Court is Defendant Gregory Caldwell’s pro se motion for a reduction of

sentence under 18 U.S.C. § 3582(c)(2) based upon the retroactive application of the crack

cocaine penalty reduction imposed by the United States Sentencing Commission, effective

March 3, 2008.1 After careful review, and for the reasons that follow, the motion is denied.

       On September 13, 2004, a jury found Caldwell guilty of conspiracy to possess with intent

to distribute less than 50 kilograms of marijuana (Count 1); conspiracy to possess with intent to

distribute more than 5 grams of crack cocaine (Count 2); possession with intent to distribute

approximately 221.2 grams of marijuana (Count 3); and possession with intent to distribute

approximately 19.1 grams of crack cocaine (Count 4).

       On December 16, 2004, the late Honorable Judge George Howard, Jr. sentenced

       1
        See United States Sentencing Commission Sentencing Guidelines, Amendment 706
(reducing the guideline range for crack cocaine offenses, effective November 1, 2007) and
Amendment 711 (making Amendment 706 retroactive, effective March 3, 2008).

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Caldwell to 180 months’ imprisonment. At sentencing, Judge Howard explained that he was

“going to pursue the statutory approach and the guidelines as an alternative.” Dec. 16, 2004

Sent. Tr. at 29. Judge Howard sentenced Caldwell to serve five years’ imprisonment on each of

Counts 1 and 3, and fifteen years’ imprisonment on each of Counts 2 and 4, all sentences to run

concurrently. Docket entry #151. When Judge Howard imposed the sentence, he stated:

       Relative to Count 2, I want to point out to you I could sentence you to 40 years on
       the remaining two counts [Counts 2 and 4], and I think you deserve it. But as I
       indicated, I’m trying to reach you so that you can take advantage of this great
       culture. I’m going to give you a break. Instead of giving you 40 years on Count 2[,]
       I’m going to give you 15 years. Relative to Count 4, 15 years, not 20 years, 15 years.

       *****

       Now in the alternative, the Court is going to track the sentencing guidelines. The
       total offense level is 36, the criminal history category is VI. Accordingly, the
       minimum term of imprisonment under the guidelines would be 324 months, the
       maximum would be 405 months. I’m going to impose 350 months. This is in the
       alternative.

Dec. 16, 2004 Sent. Tr. at 20-32.

       Caldwell appealed his conviction, not his sentence, arguing that Judge Howard erred in

denying his motions to suppress statements and evidence and allowing the government to amend

Count 4 of the indictment at trial. United States v. Williams, 429 F.3d 767 (8th Cir. 2005). On

November 17, 2005, the Eighth Circuit issued an opinion reversing Caldwell’s conviction on

Count 4. The Court of Appeals held that the failure to allege the elements of the offense set

forth in Count 4 of the indictment could not be cured by an amendment, and the Court reversed

Caldwell’s conviction on that single count. However, the Eighth Circuit affirmed the judgments

of conviction with respect to Counts 1, 2, and 3.

       On remand, Judge Howard vacated Caldwell’s conviction on Count 4, reduced the



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special assessment imposed under the original sentence, and left the 180-month prison term

intact. Caldwell filed a pro se notice of appeal.       The Eighth Circuit concluded that Caldwell’s

challenge to his convictions and sentence had to be raised in his first appeal and were beyond the

scope of the Court’s remand. Finding no non-frivolous issues for appeal, the Eighth Circuit

affirmed the amended judgment.

        Now before the Court is Caldwell’s pro se motion for a reduction of sentence under 18

U.S.C. § 3582(c)(2). After careful review, the Court finds that Caldwell is not entitled to a

reduction of his sentence.

        Not every person sentenced for a crack cocaine offense is eligible for a sentence

reduction.2 Only those persons currently serving a sentence determined or affected by a

sentencing range calculated using the drug quantity table, USSG § 2D1.1, are potentially

eligible.

        Because Caldwell is serving a statutory sentence, he is not eligible for a sentence

reduction under Amendment 706. Furthermore, Caldwell would receive no benefit from

recalculation of the alternate guideline sentence. Because Caldwell is a career offender

convicted of an offense carrying a statutory maximum of forty years’ imprisonment, a

recalculated advisory guideline range is 262 to 327 months, based on a criminal offense level of

34 and a criminal history category of VI. See USSG § 4B1.1.

        Because the determination of Defendant’s sentence of imprisonment is unaffected by the

retroactive crack cocaine amendment, the motion for a reduction of sentence (docket entry #265)

is DENIED.

        2
      See, generally, U.S.S.G. § 1B1.10, Reduction in Term of Imprisonment as a Result of
Amended Guideline Range (Policy Statement)(March 3, 2008).

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IT IS SO ORDERED THIS 23RD DAY OF SEPTEMBER, 2008.



                              /s/Susan Webber Wright

                             UNITED STATES DISTRICT JUDGE




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